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14                        UNITED STATES DISTRICT COURT
15              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

16   SILPADA DESIGNS, INC.,                            )
                                                       )   Case No. 2:15-cv-03636-SJO-SSx
17                                   Plaintiff,        )
                                                       )   DISCOVERY MATTER
18           vs.                                       )
                                                       )
19                                                     )   PLAINTIFF’S NOTICE OF MOTION
     CLAIRE SANTANIELLO,                               )   TO COMPEL DISCOVERY
20                                                     )   RESPONSES
                                     Defendants.       )
21                                                     )   Hearing Date: March 1, 2016
                                                       )   Hearing Time: 10:00 a.m.
22                                                     )
                                                       )   Location: Courtroom 590
23                                                     )
                                                       )   Hon. Suzanne H. Segal
24                                                     )
                                                       )
25                                                     )   Discovery Cutoff: June 20, 2016
                                                       )   Pretrial Conference: September 12, 2016
26                                                     )
                                                       )   Trial Date: September 20, 2016
27                                                     )
                                                       )   Complaint Filed: May 19, 2015
28                                                     )

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     NOTICE OF MOTION TO COMPEL
     DWT 28865125v1 0104487-000001
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 1           TO THE COURT AND DEFENDANT:
 2           PLEASE TAKE NOTICE that on Tuesday, March 1, 2016 at 10:00 a.m., in
 3   Courtroom 590, United States Courthouse, Roybal Federal Building, located at 255
 4   East Temple Street, Los Angeles, CA 90012, Plaintiff Silpada Designs, Inc.
 5   (“Silpada”) will and hereby does move this Court for an Order requiring Defendant
 6   Claire Santaniello (“Santaniello”) to: (a) treat Silpada’s First Set of Interrogatories
 7   (“Interrogatories”) Nos. 2, 4, 10-12, 15 and 17-22 as single interrogatories; (b)
 8   provide substantive responses to Interrogatories Nos. 1-24; (c) immediately produce
 9   documents in response to Silpada’s First Set of Requests for Production of
10   Documents (“Requests”) Nos. 1-66 or, in the alternative, confirm that no such
11   documents exist; (d) produce all purportedly confidential information in a manner
12   that provides access to Silpada’s in-house legal team; (e) withdraw all objections that
13   Santaniello raised after she served her initial written discovery responses on October
14   2, 2015; and (f) enter Silpada’s proposed Joint Protective Order, attached as Exhibit
15   26 to the Declaration of Sean Sullivan.
16           This Motion is made following the conference of counsel pursuant to L.R. 37-
17   1, which took place on October 19, 2015 and December 18, 2015.
18           The Motion will be based on this Notice, the Joint Stipulation prepared by the
19   parties pursuant to L.R. 37-2, as well as supporting declarations and exhibits, the files
20   and records in this action, and any further evidence or argument that this Court may
21   properly receive at or before the hearing.
22   DATED: February 4, 2016                   DAVIS WRIGHT TREMAINE LLP
23
                                               s/ Sean M. Sullivan
24                                             Sean M. Sullivan
25
                                               HOVEY WILLIAMS LLP
26                                             Cheryl L. Burbach
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                                               ATTORNEYS FOR SILPADA DESIGNS, INC.
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